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     NSO GROUP TECHNOLOGIES LIMITED and
 7   Q CYBER TECHNOLOGIES LIMITED
 8
                                   UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                        OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                  DEFENDANTS NSO GROUP
                                                   TECHNOLOGIES LIMITED AND Q
14                   Plaintiffs,                   CYBER TECHNOLOGIES LIMITED’S
           v.                                      ADMINISTRATIVE MOTION TO FILE
15                                                 UNDER SEAL
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,             Judge: Hon. Phyllis J. Hamilton
17                   Defendants.                   Action Filed: 10/29/2019
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     DEFENDANTS’ ADMINISTRATIVE
     MOTION TO FILE UNDER SEAL
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 1   TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that pursuant to Civil Local Rules 7-11 and 79-5(f), Defendants

 3   NSO Group Technologies Limited and Q Cyber Technologies Limited (“Defendants”) submit this

 4   Administrative Motion to File Under Seal certain portions of and exhibits supporting Defendants’

 5   Opposition to Plaintiffs’ Motion for Permanent Injunction (“Defendants’ Opposition”).

 6   Specifically, Defendants seek to seal indicated portions of (1) the Declaration of Aaron S. Craig

 7   filed concurrently with this Opposition (“Craig Declaration”); (2) Defendants’ Opposition; (3) the

 8   Declaration of Yaron Shohat in Support of Defendants’ Opposition (“Shohat Declaration”); and (4)

 9   Exhibit A to the Declaration of Joshua J. Minkler in Support of Defendants’ Opposition (“Minkler

10   Declaration”) (collectively, the “Sealed Documents”)

11          The Administrative Motion is based upon the points and authorities set forth herein, as well

12   as those facts attested to in the Craig Declaration.

13   I.     LEGAL STANDARD

14          Although courts recognize a general right to inspect and copy public records, “access to

15   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

16   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

17   are to the merits of the case. A party seeking to seal materials submitted with a motion that is “more

18   than tangentially related to the merits of the case” must demonstrate that there are compelling

19   reasons to keep the documents under seal. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d

20   1092, 1101–02 (9th Cir. 2016). On the other hand, “[a] party seeking leave to file documents under

21   seal in conjunction with a non-dispositive motion” need only show “good cause exists to file the

22   information under seal.” Uniloc U.S.A., Inc. v. Apple Inc., 2018 WL 2392561, at *3 (N.D. Cal.

23   May 25, 2018) (Hamilton, J.).

24          Under the “good cause” standard, the relevant inquiry is “whether good cause exists to

25   protect the information from being disclosed to the public by balancing the needs for discovery

26   against the need for confidentiality.” Wells Fargo & Co. v. ABD Ins. & Fin. Servs., 2013 WL

27   897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.). “Good cause” requires only “a particularized

28   showing” that sealing is appropriate. Kamakana, 447 F.3d at 1180.
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 1          Under the “compelling reasons” standard, it is in the “sound discretion of the trial court” to

 2   determine what constitutes a “compelling reason.” In re Da Vinci Surgical Robot Antitrust Litig.,

 3   2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).

 4          Courts have found compelling reasons to seal non-public government information. See

 5   Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at *2 (D. Nev. June

 6   20, 2019).

 7          In addition, “Compelling reasons justifying sealing court records generally exist when such

 8   court files might become a vehicle for improper purposes such as releasing trade secrets or as

 9   sources of business information that might harm a litigant's competitive standing.” Id. (cleaned

10   up); see also Grace v. Apple, Inc., 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22 2019)

11   (“Competitive harm and security concerns can qualify as compelling reasons.”). Specifically,

12   Courts have found that compelling reasons exist to seal “proprietary information concerning [a

13   party’s] technology and internal business operations” and “descriptions of [a party’s] proprietary

14   technology.” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL 706975, at *1 (N.D. Cal.

15   Feb. 26, 2013); see also In re Google Location Hist. Litig., 514 F. Supp. 3d 1147, 1162 (N.D. Cal.

16   Jan. 25, 2021) (“Compelling reasons may exist to seal ‘trade secrets, marketing strategies, product

17   development plans, detailed product-specific financial information, customer information, internal

18   reports.’”); Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566, at *1 (N.D. Cal. Aug. 7,

19   2019) (“Courts have found that ‘confidential business information’ in the form of ‘license

20   agreements, financial terms, details of confidential licensing negotiations, and business strategies’

21   satisfies the ‘compelling reasons’ standard.”). Courts have also found “compelling reasons to seal

22   . . . information about the technical operation of [a party’s] products.” Finjan, Inc. v. Proofpoint,

23   Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016).

24   II.    LEGAL ANALYSIS

25          As explained below, good cause and compelling reasons exist to seal the Sealed Documents.

26          First, certain of the Sealed Documents contain highly sensitive, non-public information the

27   disclosure of which would prejudice Defendants and parties not before the Court. See, e.g., Compal

28   Elecs., Inc. v. Apple Inc., 2017 WL 11423604, at *3 (S.D. Cal. Sept. 5, 2017); Omari v. Ras Al
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     DEFENDANTS’ ADMINISTRATIVE
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 1   Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017); Strauss v.

 2   Credit Lyonnais, S.A., 2011 WL 4736359, at *5 (E.D.N.Y. Oct. 6, 2011). For additional argument,

 3   NSO respectfully refers the Court to Paragraph 13 of the Craig Declaration.

 4          Second, many of the Sealed Documents also contain confidential and competitively

 5   sensitive technical information of Defendants, the disclosure of which would put Defendants at a

 6   competitive disadvantage. Courts have routinely held that such confidential business information

 7   satisfies the “compelling reasons” standard. E.g., In re Qualcomm Litig., 2017 WL 5176922, at *2

 8   (S.D. Cal. Nov. 8, 2017); Jones v. PGA Tour, Inc., 2023 WL 7440303, at *2 (N.D. Cal. May 18,

 9   2023). This includes technological information. Transperfect Global, 2013 WL 706975, at *1;

10   Finjan, 2016 WL 7429304, at *2. The nature of NSO’s business requires that such information be

11   kept confidential, and NSO would suffer competitive harm if this information were broadly

12   disclosed to the public and to potential competitors. NSO’s government customers would also be

13   prejudiced by disclosure of such information. Plaintiffs have sought to seal equivalent confidential

14   information about their own business and technology.

15          The Craig Declaration Supporting This Motion. As the Craig Declaration itself makes

16   clear, it contains highly sensitive, non-public information, the disclosure of which would prejudice

17   Defendants and other parties not before the Court. See Craig Decl. ¶¶ 2-11, 13.

18          Portions of Defendants’ Opposition.          Defendants have indicated certain portions of

19   Defendants’ Opposition that there are compelling reasons to seal. Defendants’ Opposition contains

20   references to information that is subject to the legal restrictions and confidentiality obligations

21   discussed at ¶¶ 2-11, 13 of the Craig Declaration. This Court has previously sealed similar materials.

22          Portions of the Shohat Declaration. This declaration, from NSO’s Chief Executive officer,

23   contains information that is subject to the legal restrictions and confidentiality obligations discussed

24   at ¶¶ 2-11, 13 of the Craig Declaration. This Court has previously sealed similar materials.

25          Exhibit A to the Minkler Declaration. Exhibit A attached to the Minkler Declaration

26   contains information that is subject to the legal restrictions and confidentiality obligations discussed

27   at ¶¶ 2-11, 13 of the Craig Declaration. The document also discusses highly confidential

28   information about Defendants’ technologies, which warrants sealing to prevent substantial harm to
                                                        3
     DEFENDANTS’ ADMINISTRATIVE
     MOTION TO FILE UNDER SEAL                                                    Case No. 5:24-cv-04660-EJD
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 1   Defendants’ business and to Defendants’ government customers. E.g., Finjan, 2016 WL 7429304,

 2   at *2; Transperfect, 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Synchronoss,

 3   2019 WL 3718566, at *1.

 4   III.   CONCLUSION

 5          For the reasons set forth above and in the accompanying Craig Declaration, Defendants

 6   request that the Court grant this Motion and order the Sealed Documents to be kept under seal.

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 8
     Dated: March 14, 2025                       KING & SPALDING LLP
 9
                                                 By: /s/ Aaron S. Craig
10                                                   JOSEPH N. AKROTIRIANAKIS
                                                     AARON S. CRAIG
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                                                         Attorneys for Defendants
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